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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 FRANK STOPPIELLO, JR., as Independent
 Administrator of the Estate of FRANK
 STOPPIELLO, SR., Deceased,

                Plaintiff,

                               v.                      Court No. 1:17-cv-5366

 UNITED STATES OF AMERICA,

                Defendant.

                                     COMPLAINT AT LAW

       Plaintiff, FRANK STOPPIELLO, JR., as Independent Administrator of the Estate of

FRANK STOPPIELLO, SR. (“Plaintiff”), by and through his attorneys, DUNCAN LAW GROUP,

LLC, complaining of the Defendant, UNITED STATES OF AMERICA, for his Complaint at Law,

states as follows:

                                    NATURE OF THE ACTION

       1.       This is an action for medical negligence in the medical care and treatment provided

by employees of the United States Department of Veterans Affairs to Plaintiff’s decedent, Frank

Stoppiello, Sr., beginning on or about August 30, 2013.

                                JURISDICTION AND VENUE

       2.      This court has jurisdiction over this case pursuant to 28 U.S.C. § 1331, 1346(b) and

2671 – 2680 as the plaintiff is making a civil claim against defendant, UNITED STATES OF

AMERICA, for money damages for personal injuries and wrongful death caused by the negligence

acts and/or omissions of employees of defendant, UNITED STATES OF AMERICA.
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       3.     The United States Department of Veterans Affairs is a federal agency of the United

States government within the meaning of 28 U.S.C. §§2671 – 2680.

       4.     At all times relevant to this action, Dr. Jeffrey Branch, M.D., Dr. Michelle Van

Kuiken, M.D., Dr. Marah Hehemann, M.D. and Dr. Jessica Wetterlin, M.D. were employed by

the United States Department of Veterans Affairs.

       5.     Pursuant to the Federal Tort Claims Act, 28 U.S.C. § 1346(b) and §§2671 – 2680,

defendant, UNITED STATES OF AMERICA, is liable for personal injury or death caused by the

negligent acts and/or omissions of any employee of the UNITED STATES OF AMERICA while

acting within the scope of their office and/or employment.

       6.     On May 12, 2016, Plaintiff timely submitted a claim to the United States

Department of Veterans Affairs, Office of Chief Counsel, pursuant to the Federal Tort Claims Act.

       7.     Plaintiff received an acknowledgment letter from the United States Department of

Veterans Affairs (misdated April 20, 2016) confirming receipt of the claim and confirming that

the six month period for reviewing the claim began on May 12, 2016. (See Acknowledgment of

Receipt of Administrative Claim, attached hereto as Exhibit A.)

       9.     On January 3, 2017, Plaintiff submitted additional materials in connection with the

original May 12, 2016 claim.

       10.    In a January 3, 2017 letter, the United States Department of Veterans Affairs stated

that the January 3, 2017 additional materials constituted an amended claim and that a new six

month period for reviewing the claim began on January 3, 2017. (See Acknowledgment of

Amendment to Administrative Claim, attached hereto as Exhibit B.)

       11.    The six month period for the United States Department of Veterans Affairs to

review the claim expired on July 3, 2017.




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        12.     Therefore, pursuant to 28 U.S.C. § 2675, the United States Department of Veterans

Affairs’s failure to make a final disposition of the claim within six months after it is filed

constitutes a final denial of the claim.

        13.     Venue is proper in this district pursuant to 28 U.S.C. §1391 because a substantial

part of the events or omissions giving rise to the claim occurred in the Northern District of Illinois

and the plaintiff resides within the district.

                                    FACTUAL ALLEGATIONS

        14.     Plaintiff, FRANK STOPPIELLO, JR., has been appointed the Independent

Administrator of the Estate of FRANK STOPPIELLO, SR., Deceased, and is authorized by law to

bring this action.

        15.     On or about August 30, 2013, Plaintiff’s decedent, FRANK STOPPIELLO, SR.,

underwent a cystoscopy with bladder washing and CT urogram at the Edward Hines, Jr. Veterans

Administration Hospital (hereinafter “Hines VA Hospital”).

        16.     The August 30, 2013 cystoscopy with bladder washing was performed by resident

physician Dr. Michelle Van Kuiken, M.D. under the supervision of attending physician Dr. Jeffrey

Branch, M.D. at Hines VA Hospital.

        17.     Dr. Van Kuiken prepared a report, that was reviewed and approved by Dr. Branch,

in connection with the August 30, 2013 cystoscopy that noted the presence of diffuse cystitis and

squamous metaplasia.

        18.     The August 30, 2013 CT urogram, performed at Hines VA Hospital, showed

concentric wall thickening of Plaintiff’s decedent’s, FRANK STOPPIELLO, SR.’s bladder.

        19.     Tissue samples from the August 30, 2013 bladder washing were sent for

pathological examination (cytopathology).




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       20.     On or about September 3, 2013, the pathology results from the August 30, 2013

bladder washing cystoscopy became available and showed abnormal atypical squamous cells.

       21.     On or about September 9, 2013, resident physician Dr. Marah Hehemann, M.D.,

under the supervision of attending physician Dr. Jeffrey Branch, M.D., reviewed the bladder

washing pathology results and ordered a follow-up urology appointment at Hines VA Hospital in

one month.

       22.     On or about September 10, 2013, attending physician Dr. Jeffrey Branch, M.D.

reviewed the bladder washing pathology results and approved Dr. Hehemann’s note.

       23.     Plaintiff’s decedent, FRANK STOPPIELLO, SR. was scheduled for a follow-up

urology appointment on October 7, 2013 at Hines VA Hospital.

       24.     At his October 7, 2013 follow-up urology appointment at Hines VA Hospital,

Plaintiff’s decedent, FRANK STOPPIELLO, SR., was seen by resident physician Dr. Jessica

Wetterlin, M.D. under the supervision of attending physician Dr. Jeffrey Branch, M.D.

       25.     At the October 7, 2013 follow-up urology appointment at Hines VA Hospital, Dr.

Wetterlin informed Plaintiff’s decedent, FRANK STOPPIELLO, SR. that his August 30, 2013 CT

urogram results were negative and his August 30, 2013 cystoscopy with bladder washing results

were unremarkable.

       26.     On or about May 15, 2014, Plaintiff’s decedent, FRANK STOPPIELLO, SR., was

admitted to Hines VA Hospital for a planned elective surgery consisting of a cystoscopy,

transurethral resection of his prostate and sphincterotomy.

       27.     During the above-mentioned May 15, 2014 elective surgery a biopsy was

performed which revealed squamous cell carcinoma (SCC) bladder metastatic cancer.




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        28.     Plaintiff’s decedent, FRANK STOPPIELLO, SR., died on October 20, 2014 from

metastatic bladder cancer.

                                             COUNT I

   UNITED STATES OF AMERICA – Medical Negligence/Illinois Wrongful Death Act

        29.     Plaintiff repeats and realleges the allegations of paragraphs 1 through 28 as if fully

set forth herein.

        30.     At all times referenced herein, it was the duty of defendant, UNITED STATES OF

AMERICA, by and through its employees Dr. Jeffrey Branch, M.D., Dr. Michelle Van Kuiken,

M.D., Dr. Marah Hehemann, M.D. and Dr. Jessica Wetterlin, M.D., to exercise ordinary care in

providing medical care and treatment to plaintiff’s decedent, FRANK STOPPIELLO, SR.

        31.     At all times referenced herein, defendant, UNITED STATES OF AMERICA, by

and through its employees, Dr. Jeffrey Branch, M.D., Dr. Michelle Van Kuiken, M.D., Dr. Marah

Hehemann, M.D. and Dr. Jessica Wetterlin, M.D., breached its duty to exercise ordinary care by

one or more of the following negligent acts or omissions:

                a.     Dr. Jeffrey Branch, M.D. and Dr. Michelle Van Kuiken, M.D. failed to
                       immediately order and/or perform a bladder biopsy on plaintiff’s decedent,
                       FRANK STOPPIELLO, SR., in response to findings from his August 30,
                       2013 cystoscopy, including but not limited to the presence of diffuse cystitis
                       and squamous metaplasia; or,

                b.     Dr. Jeffrey Branch, M.D., Dr. Michelle Van Kuiken, M.D. and Dr. Marah
                       Hehemann, M.D. failed to order and/or perform a bladder biopsy on
                       plaintiff’s decedent, FRANK STOPPIELLO, SR., in response to the
                       pathology results from the bladder washing performed in conjunction with
                       the cystoscopy on August 30, 2013, including but not limited to the presence
                       of abnormal atypical squamous cells; or,

                c.     Dr. Jeffrey Branch, M.D. and Dr. Jessica Wetterlin, M.D. failed to order
                       and/or perform a bladder biopsy on plaintiff’s decedent, FRANK
                       STOPPIELLO, SR., in response to the pathology results from the bladder
                       washing performed in conjunction with the cystoscopy on August 30, 2013,




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                       including but not limited to the presence of abnormal atypical squamous
                       cells and his CT urogram results.

       32.     As a direct and proximate result of one or more of the defendant, UNITED STATES

OF AMERICA’S negligent acts and/or omissions, by and through its employees, Dr. Jeffrey

Branch, M.D., Dr. Michelle Van Kuiken, M.D., Dr. Marah Hehemann, M.D. and Dr. Jessica

Wetterlin, M.D., plaintiff’s decedent, FRANK STOPPIELLO, SR., sustained injuries of a

personal, pecuniary and permanent nature which caused or contributed to cause his death.

       33.     Plaintiff, FRANK STOPPIELLO, JR., as Independent Administrator of the Estate

of FRANK STOPPIELLO, SR., Deceased, brings this action pursuant to the Illinois Wrongful

Death Act, 740 ILCS 180/1, et seq.

       34.     Plaintiff’s decedent, FRANK STOPPIELLO, SR., left surviving him various

persons who were his next of kin, including, but not limited to, the following:

               Maria Elvia Mayorga de Stoppiello (Surviving Spouse)

               Frank Stoppiello, Jr. (Son)

               Maria Elvia Stoppiello (Daughter)

               Jonathan Stoppiello (Son)

       35.     All of Plaintiff’s decedent, FRANK STOPPIELLO, SR.’S next-of-kin suffered

injuries as a result of Plaintiff’s decedent’s death including the loss of companionship and loss of

society.

       36.     Pursuant to the Illinois Code of Civil Procedure, 735 ILCS 5/2-622, the Affidavit

of an attorney for the plaintiff is attached hereto as Exhibit C, along with the report of a qualified

health processional as Exhibit D.

       WHEREFORE, the plaintiff, FRANK STOPPIELLO, JR., as Independent Administrator

of the Estate of FRANK STOPPIELLO, SR., Deceased, prays for judgment against Defendant,



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UNITED STATES OF AMERICA, through its employees, Dr. Jeffrey Branch, M.D., Dr. Michelle

Van Kuiken, M.D., Dr. Marah Hehemann, M.D. and Dr. Jessica Wetterlin, M.D., in the amount of

SEVEN MILLION DOLLARS ($7,000,000.00), as will be just and proper compensation for the

injuries suffered, plus costs and any and all other relief that the Court may deem proper under the

circumstances.

                               COUNT II
        UNITED STATES OF AMERICA – Medical Negligence/Illinois Survival Act

        37.      Plaintiff repeats and realleges the allegations of paragraphs 1 through 36 as if fully

set forth herein.

        38.      At all times referenced herein, it was the duty of defendant, UNITED STATES OF

AMERICA, by and through its employees Dr. Jeffrey Branch, M.D., Dr. Michelle Van Kuiken,

M.D., Dr. Marah Hehemann, M.D. and Dr. Jessica Wetterlin, M.D., to exercise ordinary care in

providing medical care and treatment to plaintiff’s decedent, FRANK STOPPIELLO, SR.

        39.      At all times referenced herein, defendant, UNITED STATES OF AMERICA, by

and through its employees, Dr. Jeffrey Branch, M.D., Dr. Michelle Van Kuiken, M.D., Dr. Marah

Hehemann, M.D. and Dr. Jessica Wetterlin, M.D., breached its duty to exercise ordinary care by

one or more of the following negligent acts or omissions:

                 a.     Dr. Jeffrey Branch, M.D. and Dr. Michelle Van Kuiken, M.D. failed to
                        immediately order and/or perform a bladder biopsy on plaintiff’s decedent,
                        FRANK STOPPIELLO, SR., in response to findings from his August 30,
                        2013 cystoscopy, including but not limited to the presence of diffuse cystitis
                        and squamous metaplasia; or,

                 b.     Dr. Jeffrey Branch, M.D., Dr. Michelle Van Kuiken, M.D. and Dr. Marah
                        Hehemann, M.D. failed to order and/or perform a bladder biopsy on
                        plaintiff’s decedent, FRANK STOPPIELLO, SR., in response to the
                        pathology results from the bladder washing performed in conjunction with
                        the cystoscopy on August 30, 2013, including but not limited to the presence
                        of abnormal atypical squamous cells; or,




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                 c.     Dr. Jeffrey Branch, M.D. and Dr. Jessica Wetterlin, M.D. failed to order
                        and/or perform a bladder biopsy on plaintiff’s decedent, FRANK
                        STOPPIELLO, SR., in response to the pathology results from the bladder
                        washing performed in conjunction with the cystoscopy on August 30, 2013,
                        including but not limited to the presence of abnormal atypical squamous
                        cells and his CT urogram results.

       40.       As a direct and proximate result of one or more of the defendant, UNITED STATES

OF AMERICA’S negligent acts and/or omissions, by and through its employees, Dr. Jeffrey

Branch, M.D., Dr. Michelle Van Kuiken, M.D., Dr. Marah Hehemann, M.D. and Dr. Jessica

Wetterlin, M.D., Plaintiff’s decedent, FRANK STOPPIELLO, SR., sustained personal, pecuniary

and permanent injuries and medical expenses, and, had Plaintiff’s decedent, FRANK

STOPPIELLO, SR., survived, he would have been entitled to pursue a cause of action for the same.

       41.       Plaintiff, FRANK STOPPIELLO, JR., as Independent Administrator of the Estate

of FRANK STOPPIELLO, SR., Deceased, brings this action under what is commonly known as

the Illinois Survival Act, 755 ILCS 5/27-6.

       42.       Pursuant to the Illinois Code of Civil Procedure, 735 ILCS 5/2-622, the Affidavit

of an attorney for the plaintiff is attached hereto as Exhibit C, along with the report of a qualified

health processional as Exhibit D.

       WHEREFORE, the plaintiff, FRANK STOPPIELLO, JR., as Independent Administrator

of the Estate of FRANK STOPPIELLO, SR., Deceased, prays for judgment against Defendant,

UNITED STATES OF AMERICA, through its employees, Dr. Jeffrey Branch, M.D., Dr. Michelle

Van Kuiken, M.D., Dr. Marah Hehemann, M.D. and Dr. Jessica Wetterlin, M.D., in the amount of

FIVE MILLION DOLLARS ($5,000,000.00), as will be just and proper compensation for the

injuries suffered, plus costs and any and all other relief that the Court may deem proper under the

circumstances.




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                                             Respectfully Submitted,
                                             FRANK STOPPIELLO, JR., as
                                             Independent Administrator of the Estate
                                             of FRANK STOPPIELLO, SR., Deceased,


Dated: July 21, 2017                         By: /s/ Robert R. Duncan
                                                     One of His Attorneys

                                             Robert R. Duncan (Illinois Bar #6277407)
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